      CASE 0:15-cr-00210-MJD-DTS        Doc. 107    Filed 10/15/15    Page 1 of 2




                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                             CRIM NO. 15-210 (MJD/JSM)

       Plaintiff,

v.                                             REPORT AND RECOMMENDATION

JONATHAN PEREZ-JUAREZ (5)

       Defendant.


       The above matter came before the Court upon defendant’s Pretrial Motion to

Suppress Evidence [Docket No. 54] and defendant’s Motion to Suppress Statements,

Admissions, and Answers [Docket No. 55]. The matter has been referred to this Court

for a Report and Recommendation pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule

72.1(c).

       On August 28, 2015, defendant filed boilerplate motions to suppress evidence

and statements. The Government, in its written response, objected to the motions on

the grounds that defendant had failed to identify any specific factual evidence or legal

justification for suppression. Omnibus Response to Defendants’ Pre-Trial Motions, pp.

6-8 [Docket No. 84].

       At the hearing on October 14, 2015, James Ventura, Esq., appeared on behalf of

defendant’s counsel of record, E. David Reyes, who was not available. Mr. Ventura

represented that Mr. Reyes had instructed that the instant motions be submitted on the

current record, with no live testimony. Mr. Ventura stated that he anticipated the Court

would rule in favor of the Government and deny the motions. Additionally, Mr. Ventura
      CASE 0:15-cr-00210-MJD-DTS          Doc. 107     Filed 10/15/15    Page 2 of 2




clarified that Mr. Reyes was waiving any live testimony or cross-examination, and

therefore, he would not hold the Government to its burden of producing witnesses.

         The Government stated that Mr. Ventura’s representations were consistent with

its discussions with Mr. Reyes, who had indicated that there would be no contested

issues on the matter and that the motions would be denied.

         Accordingly, based upon the representations of the Government and defendant’s

counsel at the hearing, IT IS HEREBY RECOMMENDED that

         1.    Defendant’s Pretrial Motion to Suppress Evidence [Docket No. 54] be

DENIED; and

         2.    Defendant’s Motion to Suppress Statements, Admissions, and Answers

[Docket No. 55] be DENIED.




Dated:         October 14, 2015

                                                 s/ Janie S. Mayeron
                                                 JANIE S. MAYERON
                                                 United States Magistrate Judge


                                         NOTICE
Under D. Minn. LR 72.2(b) any party may object to this Report and Recommendation by
filing with the Clerk of Court, and serving all parties by October 28, 2015, a writing
which specifically identifies those portions of this Report to which objections are made
and the basis of those objections. A party may respond to the objecting party's brief
within ten days after service thereof. All briefs filed under this Rules shall be limited to
3500 words. A judge shall make a de novo determination of those portions to which
objection is made. This Report and Recommendation does not constitute an order or
judgment of the District Court, and it is therefore not appealable directly to the Circuit
Court of Appeals.




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